                   Case 19-24331-JKO         Doc 11        Filed 11/19/19    Page 1 of 1




    ORDERED in the Southern District of Florida on November 19, 2019.




                                                            John K. Olson, Judge
                                                            United States Bankruptcy Court
_____________________________________________________________________________
                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION
                                     www.flsb.uscourts.gov

   IN RE:                                             CASE NO. 19-24331-BKC-JKO
                                                      CHAPTER 13
   RALPH LEVI SANDERS, JR.
   __________________________/

                          ORDER GRANTING DEBTOR’S EXPEDITED
                       MOTION FOR CONTINUANCE OF AUTOMATIC STAY

            THIS CAUSE having come before the Court on November 13, 2019 upon the Debtor’s
   Expedited Motion for Continuance of the Automatic Stay (DE 4), and the court having reviewed
   the Motion and the file in this cause, and being otherwise fully advised in the premises, it is,
   therefore,
            ORDERED AND ADJUDGED that the Motion is hereby GRANTED. The automatic stay
   is continued until further order of this court.
                                                     ###

   Submitted by:

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   Michael H. Johnson is directed to serve copies of this order on all interested parties and file a
   certificate of service.
